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                                        STATEMENT OF FACTS
       On June 20, 2020, at approximately 12:13 AM, officers from the United States Park Police
(“USPP”) were dispatched to the 200 block of Indiana Avenue, Northwest, Washington, D.C., in
response to reports of the destruction of the Albert Pike Historical Statue (the “Pike Statue”). The
Pike Statue is owned and maintained by the National Park Service (“NPS”). Responding officers
discovered that the statue had been pulled down from its base and set afire. The base of the statue
had been vandalized with anti-law enforcement slogans (“Fuck 12”) and other profane graffiti.
         Members of the Federal Bureau of Investigation (FBI) and USPP have compiled online
open source videos of this incident in order to identify the individuals who removed the statue
from its base and set it afire. The videos show a large crowd of people using ropes to pull down
the Pike Statue. Members of the crowd then douse the statue in an unknown liquid and proceed to
light the statue on fire. In reviewing these videos, law enforcement identified Suspect-5, later
identified as JASON CHARTER, a white male dressed in all black, with black gloves, a black
armband, and carrying a walking cane, a black and gray Swiss Gear logo backpack, and a bike
helmet dangling from the side of the backpack. At times in these videos, CHARTER’s mouth and
chin are covered by what appears to be a dark colored balaclava, and at other times, CHARTER’s
face is fully exposed. Your affiant has reviewed the videos of this incident which show CHARTER
participating in the destruction and depredation of the Pike Statue as follows:
        In video taken by WUSA9 news 1 in the late evening hours of June 19, 2020, CHARTER
is seen at approximately the 2:15 mark of the video standing over the toppled Pike Statue,
pouring an unknown liquid onto the statue. He is then observed waving others away from the
statue, and squatting down behind the statue where his hands are not visible. Seconds later, the
statue catches fire. CHARTER is seen standing over the flames as it burns.




1
 Available at https://www.wusa9.com/article/news/local/protests/confederate-statues-dc-roads-buildings-and-
monuments/65-819b1d16-1d23-4005-b5f4-f71ca6698910

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        CHARTER then continues to pour an unknown liquid onto the statue. These actions are
also recorded in video footage taken by the Ruptly news service, 2 at the 1:00 minute mark of the
video:




      At approximately the 1:40 mark of this video, CHARTER is visible with his face covering
removed, lighting a cigarette in the flames engulfing the Pike Statue.




2
    Available at https://www.youtube.com/watch?v=LWFMmis_7rU

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        The Pike Statue is the property of the United States and it sustained significant damage due
to the actions of the individuals involved in the aforementioned offense. Your affiant is aware that
law enforcement has communicated directly with the chief of the Resource Management section
in the National Mall and Memorial Parks division of the National Park Service who is responsible
for managing the Pike Statue. NPS has conducted an examination of the damage done to the statue
and advised that their estimated cost to repair the statue itself, including the removal of graffiti
from the base of the statue, restoration of the burnt façade of the statue, and reinstallation of the
statue on its pedestal, is approximately $250,000.
        On June 22, 2020, a crowd of approximately 200 people had gathered in Lafayette Park in
the 1600 block of Pennsylvania Avenue in Washington, D.C. There is a statue of General Andrew
Jackson in the center of the park (the “Jackson Statue”). On this date, the Jackson Statue was
surrounded with an eight foot high chain link fence due to recent protests in the area. Officers
from the United States Park Police (USPP) and the Metropolitan Police Department (MPD) were
in the area monitoring the crowd.
        Your affiant observed an organized effort to attempt to remove the Jackson Statue from its
base and damage it, including the cannons at the statue’s base. Many individuals were standing
around the statue with arms interlocked to create a blockade preventing the police from
approaching the statue. Other individuals had climbed onto the statue and were affixing white
ropes, chains and a yellow strap to the statue. Your affiant further observed multiple people
pulling on the ropes, chains and strap attempting to pull the statue down.
        The Jackson Statue is the property of the United States and it sustained significant damage
due to the actions of the individuals involved in the offenses described herein. Your affiant is
aware that law enforcement has communicated directly with a superintendent at the National Park
Service who is responsible for managing Lafayette Park and the Jackson Statue. NPS has
conducted an initial examination of the damage to the Jackson Statue and has begun estimating
the cost of repairs. While NPS has not yet completed their estimate of all the damage, NPS has
advised law enforcement that the historic cannon carriages at the base of the statue were
irreparably damaged, that some parts of the statue were bent and that other parts of the statue
sustained damage from blunt objects and chemicals. NPS further advised your affiant that the
estimated replacement cost for the historic cannon carriages is $76,000 and that the estimated
cost to repair one of the bent portions of the statue is $2,000. NPS has requested a further
inspection of the statue to ascertain the extent of the structural damage to the statue and its
foundation.
         Members of MPD, FBI and USPP have reviewed online open source videos of the incident,
videos from MPD body-worn camera footage, and footage recorded by the Secret Service in order
to identify the individuals who attempted to remove the Jackson Statue from its base and damage
it, including the cannons at the statue’s base.
       Your affiant has reviewed Secret Service surveillance video from the Jackson Statue
incident, and the video shows CHARTER entering the grounds of Lafayette Park on June 22,
2020, at approximately 6:16:52 PM. CHARTER is seen wearing an armband on his right arm,
holding a
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walking cane, and wearing a Swiss Gear logo backpack with a bicycle helmet dangling from the
side. CHARTER is also wearing red ski goggles on his forehead, and a white face mask.




         Your affiant also reviewed surveillance footage capturing the attempt that evening by a
large group of individuals to pull down the Jackson Statue. In the video, CHARTER is seen at
approximately 7:48 PM standing inside the gated area of the Jackson Statue and directing others.
CHARTER is seen grabbing ropes that are attached to the statue and adjusting them. CHARTER
is boosted up onto the statue by an unknown subject and then appears to request ropes from people
on the ground level. A yellow tow strap is handed to CHARTER and he unwraps it and prepares
it to be attached to the statue. CHARTER hands the strap to an unknown subject that attaches the
strap to the statue. CHARTER is then handed a packaged yellow rope. CHARTER unwraps the
rope and attaches it to the Jackson Statue. CHARTER grabs ropes attached to the statue and uses
them to descend the statue. At that time the video pans away.
        As the images included above indicate, CHARTER is plainly visible in footage from the
destruction of both the Pike Statue and the Jackson Statue, carrying the same Swiss Gear logo
backpack, bicycle helmet, walking cane, and armband. At the Jackson Statue incident, CHARTER
is additionally seen wearing a red set of ski goggles and a yellow ventilator mask. CHARTER’S
face is clearly visible at different times during each incident:




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        Your Affiant has spoken with Lieutenant Jason Bagshaw of the Metropolitan Police
Department. Lieutenant Bagshaw has had numerous personal interactions with CHARTER after
first meeting CHARTER during a protest in Washington, D.C. in July of 2019. On February 8,
2020, CHARTER and Bagshaw met again at a protest in Washington, D.C., and video footage of
their encounter was recorded and is available on You Tube. 3 Lieutenant Bagshaw has since seen
CHARTER on multiple occasions, and has held extensive conversations with CHARTER, at
CHARTER’S initiation, about the nature of the ongoing protests in Washington, D.C. CHARTER
has called Lieutenant Bagshaw on his cell phone to discuss these matters on a regular basis, and
CHARTER even rode with Lieutenant Bagshaw to a convenience store following a protest in June
of 2020. Lieutenant Bagshaw reviewed the video from the Pike Statue and the Jackson Statue
incidents and after reviewing the footage, he positively identified JASON CHARTER as Suspect-
5 in the above referenced video footage.
        On June 26, 2020, at 1800 hours, a protest was held within Lincoln Park adjacent to the
1200 block of East Capital Street, Northeast, Washington, DC. CHARTER encountered V-1, and
is alleged to have assaulted V-1. V-1 responded to USPP District One and filed an assault report
with Officer Adams. At 01:00 AM on June 27, 2020, CHARTER called the First District police
station and spoke with Officer Adams. CHARTER admitted being involved in an incident at
Lincoln Park and indicated that he would like to make a statement to tell his side of the incident.
CHARTER also provided his home address.
       On the same date, USPP law enforcement officers were monitoring social media during
the demonstration at Lincoln Park. Officers observed a white male being physically assaulted by
a male dressed in black, wearing a black helmet, red googles, and holding a blue cane. In the
comments section underneath the video, the male in black was identified as Jason Charter. Officers
were able to locate the Twitter account belonging to Jason Charter.


3
    Available at https://youtu.be/qj2aapUlWSU

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       Law enforcement conducted a database search of the name Jason Charter and located the
Washington, D.C. driver’s license image of Jason Robert Charter, date of birth January X, 19XX,
with the same address provided to Officer Adams. The images from the Twitter account and the
Driver’s license image are identical.
        Further investigation revealed that on June 20, 2020, shortly after the destruction of the
Pike Statue, CHARTER posted an image on his Twitter page of the Pike Statue on fire with the
caption, “Tearing down statues of traitors to the nation is a service to this nation not a crime.” Law
enforcement has also identified a Facebook account belonging to CHARTER, where he posts
images at 1:50 a.m. on June 20, 2020, of the Albert Pike Statue burning on the ground, along with
the caption, “Death to all Confederate Statues.”




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       Your affiant believes probable cause exists to issue an arrest warrants for JASON
CHARTER for violations of 18 U.S.C. § 1361, Destruction of Property of the United States
causing damage in excess of $1,000.


                                          __________________________________
                                          SPECIAL AGENT JOHNATHON HOYT
                                          FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1ST day of July, 2020.


                                          ___________________________________
                                          DEBORAH A. ROBINSON
                                          U.S. MAGISTRATE JUDGE




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